                        CASE 0:22-cr-00159-WMW-TNL Doc. 4 Filed 06/27/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     SHAMIR NATHANN BLACK,                     Criminal No. 22-mj-530 BRT
                            Defendant,
                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: SHAMIR NATHANN BLACK
Detained at (custodian): HENNEPIN COUNTY ADULT DETENTION CENTER

The government is requesting the FBI to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Complaint
                        Charging Detainee With: Carjacking
            or          b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on June 28, 2022 at 1:00 p.m. in the courtroom of the Honorable Becky R. Thorson.

Dated: June 27, 2022                                                                            _________________________________
                                                                                                ANDREW DUNNE, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

____________________________________                                                         ______________________________________
Date                                                                                         BECKY R. THORSON
                                                                                             UNITED STATES MAGISTRATE JUDGE

Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                2022000800                                                  DOB:              xx/xx/2004
     Facility Address:                     401 South Fourth Avenue                                     Race:             African-American
                                           Minneaplis, MN 55415                                        FBI #:
     Facility Phone:                       612-348-5112
     Currently Incarcerated For:           Agg. Robbery/Assault 2nd
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)


                                                                                                                                    Writ issued 6/27/2022
